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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :
                                             :
          v.                                 :      Crim. No. 19-64-JLS
                                             :
JOHN DOUGHERTY ET AL.                        :

                                            ORDER

       AND NOW, this 9th day of July, 2020, for the reasons provided in my Memorandum Opinion

(Doc. No. 149), it is hereby ORDERED that Defendant John Dougherty’s Motion to Suppress Title III

Wiretap Evidence (Doc. No. 97) is DENIED.



                                                        AND IT IS SO ORDERED.

                                                        /s/ Paul S. Diamond

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                                                        Paul S. Diamond, J.
